                     Case 6:04-cr-00010-JRH Document 306 Filed 06/23/08 Page 1 of 1
  AO 247 (02/08) Order Regarding Motion for Sentence Reduction


                                       UNITED STATES DISTRICT COURT
                                                                   for the
                                                                                                         ?B8 u: 2'       P!.' 12: 2
                                                          Southern District of Georgia
                                                              Statesboro Division
                    •United States of America                         )
                                  V.                                  )
                                                                      ) Case No: CR604-00010-005
                           Jelani Brown
                                                                      ) USM No: 11987-021
Date of Previous Judgment: March 2, 2005                              ) Sidney B, Shepherd
(Use l)ate of Last Amended Judgment if Applicable)                   ) l)efendant's Attorney

                    Order Regarding Motion for Sentence Reduction Pursuant to 18 U.S.C. § 3582(c)(2)

        Upon motion of        the defendant     the Director of the Bureau of Prisons   the court under 18 U.S.C.
§ 3582(c)(2) for a reduction in the term of imprisonment imposed based on a guideline sentencing range that has
subsequently been lowered and made retroactive by the United States Sentencing Commission pursuant to 28 U.S.C.
§ 994(u), and having considered such motion,
IT IS ORDERED that the motion is:
       0 DENIED.        GRANTED and the defendant's previously imposed sentence of imprisonment (as reflected in
                    the last judgment issued) of 96        months is reduced to          87 months
I. COURT DETERMINATION OF GUIDELINE RANGE (Prior to Any Departures)
Previous Offense Level:     31                                         Amended Offense Level:      29
Criminal History Category: I                                           Criminal History Category: I
Previous Guideline Range:   108                 to 135 months          Amended Guideline Range: 87 to 108 months
II. SENTENCE RELATIVE TO AMENDED GUIDELINE RANGE
   The reduced sentence is within the amended guideline range.
R The previous term of imprisonment imposed was less than the guideline range applicable to the defendant at the time
   of sentencing as a result of a departure or Rule 35 reduction, and the reduced sentence is comparably less than the
   amended guideline range.
 J Other (explain): The Court departed below the applicable imprisonment range at the time of the original sentencing;
                     however, since the lower end of the new advisory guideline range is 87 months, the Court will not
                     depart below that sentence because the Court contends a sentence of 87 months adequately
                     addresses the sentencing factors addressed at 18 U.S.C. § 3553(a).

II!. ADDITIONAL COMMENTS

If this sentence is less than the amount of time the defendant has already served, the sentence is reduced to a "Time
Served" sentence.


Except as provided above, all provisions of the judgment dated March 2, 2005,                        shall remain in effect.
IT IS SO ORDERED.                                                            I           ,1
Order Date:        June 23, 2008


                                                                       B. Avant Edenfield
                                                                       United States District Judge
Effective Date:                                                        For the Southern District of Georgia
                    (if different from order date)                                         Printed name and title
